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                             EXHIBIT A
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   7

   8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

   9                                   COUNTY OF LOS ANGELES

  10

  11 ANTONIO FERNANDEZ,                            CASE NO.
     individually and on behalf of all others
  12 similarly situated,                           CLASS ACTION
  13
                     Plaintiff,                    COMPLAINT FOR:
  14
       vs.                                         (1) FALSE ADVERTISING (BASED ON
  15                                               VIOLATION OF THE CALIFORNIA
     AVANQUEST NORTH AMERICA LLC,                  AUTOMATIC RENEWAL LAW)
  16 a California limited liability company; and   [Bus. & Prof. Code, §§ 17535 et seq. & 17600];
     DOES 1-50, inclusive,                         and
  17

  18                 Defendants.                   (2) UNFAIR COMPETITION
                                                   [Bus. & Prof. Code, § 17200 et seq.]
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   1                                           INTRODUCTION

   2          1.      This class action complaint alleges that Avanquest North America LLC

   3 (“Avanquest”) violates California law in connection with the advertising and sale of computer

   4 software. In particular, Avanquest offers software products for what is advertised to be a fixed price

   5 for a limited period of time, whereas upon receipt of an order, Avanquest enrolls the consumer in a

   6 subscription program that will automatically renew from one period to the next and results in

   7 subsequent charges to the consumer’s credit card, debit card, or third-party payment account. In so

   8 doing, Avanquest fails to provide the clear and conspicuous disclosures mandated by California law;

   9 charges consumers for automatic renewal subscriptions without first obtaining the consumer’s

  10 affirmative consent to an agreement that contains clear and conspicuous disclosure of required

  11 automatic renewal offer terms; fails to provide consumers with an acknowledgment mandated by

  12 California law; and fails to provide an online and/or cost-effective, timely, and easy-to-use

  13 mechanism for cancellation. Such conduct constitutes false advertising, based on violation of the

  14 California Automatic Renewal Law (Bus. & Prof. Code, § 17600 et seq.), and it also violates the

  15 Unfair Competition Law (Bus. & Prof. Code, § 17200 et seq.).

  16          2.      This action seeks restitution for Plaintiff and other affected California consumers,

  17 and a public injunction for the benefit of the People of the State of California.

  18                                            THE PARTIES

  19          3.      Plaintiff Antonio Fernandez (“Plaintiff”) is an individual residing in Los Angeles
  20 County, California.

  21          4.      Avanquest North America LLC (“Avanquest”) is a California limited liability
  22 company with its principal place of business in Los Angeles County, California. Avanquest does

  23 business in Los Angeles County, throughout California, and elsewhere, including the marketing and

  24 sale of computer software.

  25          5.      Plaintiff does not know the names of the defendants sued as DOES 1 through 50 but
  26 will amend this complaint when that information becomes known. Plaintiff alleges on information

  27 and belief that each of the DOE defendants is affiliated with the named defendant in some respect

  28 and is in some manner responsible for the wrongdoing alleged herein, either as a direct participant,

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   1 or as the principal, agent, successor, alter ego, or co-conspirator of or with one or more of the other

   2 defendants. For ease of reference, Plaintiff will refer to the named defendant and the DOE

   3 defendants collectively as “Defendants.”

   4                                                VENUE

   5          6.     Venue is proper in this judicial district because Avanquest conducts business in Los

   6 Angeles County, has its principal office in Los Angeles County, and a substantial part of the events

   7 giving rise to this action occurred in Los Angeles County.

   8                                SUMMARY OF APPLICABLE LAW

   9 Automatic Renewal Law (Bus. & Prof. Code, § 17600 et seq.)

  10          7.     In 2009, the California Legislature passed Senate Bill 340, which took effect on
  11 December 1, 2010 as Article 9 of Chapter 1 of the False Advertising Law. (Bus. & Prof. Code,

  12 § 17600 et seq. (“ARL”).) (Unless otherwise specified, all statutory references in this Complaint are

  13 to the California Business and Professions Code.) SB 340 was introduced because:

  14          It has become increasingly common for consumers to complain about unwanted
              charges on their credit cards for products or services that the consumer did not
  15          explicitly request or know they were agreeing to. Consumers report they believed
              they were making a one-time purchase of a product, only to receive continued
  16          shipments of the product and charges on their credit card. These unforeseen charges
              are often the result of agreements enumerated in the “fine print” on an order or
  17          advertisement that the consumer responded to.
  18 (See Exhibit 1 at p. 4.)

  19          8.     The Assembly Committee on Judiciary provided the following background for the
  20 legislation:

  21          This non-controversial bill, which received a unanimous vote on the Senate floor,
              seeks to protect consumers from unwittingly consenting to “automatic renewals” of
  22          subscription orders or other “continuous service” offers. According to the author and
              supporters, consumers are often charged for renewal purchases without their consent
  23          or knowledge. For example, consumers sometimes find that a magazine subscription
              renewal appears on a credit card statement even though they never agreed to a
  24          renewal.
  25 (See Exhibit 2 at p. 8.)

  26          9.     The ARL seeks to ensure that, before there can be a legally-binding automatic
  27 renewal or continuous service arrangement, there must first be adequate disclosure of certain terms

  28 and conditions and affirmative consent by the consumer. To that end, § 17602(a) makes it unlawful

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   1 for any business making an automatic renewal offer or a continuous service offer to a consumer in

   2 California to do any of the following:

   3                  a.     Fail to present the automatic renewal offer terms or continuous service offer

   4 terms in a clear and conspicuous manner before the subscription or purchasing agreement is fulfilled

   5 and in visual proximity to the request for consent to the offer. (Bus. & Prof. Code, § 17602(a)(1).)

   6 For this purpose, “clear and conspicuous” means “in larger type than the surrounding text, or in

   7 contrasting type, font, or color to the surrounding text of the same size, or set off from the

   8 surrounding text of the same size by symbols or other marks, in a manner that clearly calls attention

   9 to the language.” (Bus. & Prof. Code, § 17601(c).) The statute defines “automatic renewal offer

  10 terms” to mean the “clear and conspicuous” disclosure of the following: (a) that the subscription or

  11 purchasing agreement will continue until the consumer cancels; (b) the description of the

  12 cancellation policy that applies to the offer; (c) the recurring charges that will be charged to the

  13 consumer’s credit or debit card or payment account with a third party as part of the automatic

  14 renewal plan or arrangement, and that the amount of the charge may change, if that is the case, and

  15 the amount to which the charge will change, if known; (d) the length of the automatic renewal term

  16 or that the service is continuous, unless the length of the term is chosen by the consumer; and (e) the

  17 minimum purchase obligation, if any. (Bus. & Prof. Code, § 17601(b).)

  18                  b.     Charge the consumer’s credit or debit card or the consumer’s account with a

  19 third party for an automatic renewal or continuous service without first obtaining the consumer’s

  20 affirmative consent to the agreement containing the automatic renewal offer terms or continuous

  21 service offer terms, including the terms of an automatic renewal offer or continuous service offer

  22 that is made at a promotional or discounted price for a limited period of time. (Bus. & Prof. Code,

  23 § 17602(a)(2).)

  24                  c.     Fail to provide an acknowledgment that includes the automatic renewal or

  25 continuous service offer terms, cancellation policy, and information regarding how to cancel. (Bus.

  26 & Prof. Code, § 17602(a)(3).)

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   1          10.    Section 17602(c) requires that the acknowledgment specified in § 17602(a)(3)

   2 include a toll-free telephone number, electronic mail address, or another “cost-effective, timely, and

   3 easy-to-use” mechanism for cancellation.

   4          11.    Section 17602(d) requires that any business that allows a consumer in California to

   5 accept an automatic renewal offer or a continuous service offer online must provide a method by

   6 which the consumer can “terminate the automatic renewal or continuous service exclusively online,

   7 at will, and without engaging any further steps that obstruct or delay the consumer’s ability to

   8 terminate the automatic renewal or continuous service immediately.” Specifically, the business must

   9 “provide a method of termination that is online in the form of either of the following: (A) A

  10 prominently located direct link or button which may be located within either a customer account or

  11 profile, or within either device or user settings. (B) By an immediately accessible termination email

  12 formatted and provided by the business that a consumer can send to the business without additional

  13 information.” Section 17602(d) further provides that a consumer who is unwilling or unable to enter

  14 account information or otherwise authenticate online must not be precluded from authenticating or

  15 terminating the automatic renewal or continuous service offline using another method pursuant to

  16 § 17602(c), i.e., a cost-effective, timely, and easy-to-use mechanism for cancellation.

  17          12.    Violation of the ARL gives rise to restitution and injunctive relief under the general

  18 remedies provision of the False Advertising Law, § 17535. (Bus. & Prof. Code, § 17604(a).) The

  19 remedies of the FAL are cumulative to each other and to the remedies available under all other laws

  20 of California. (Bus. & Prof. Code, § 17534.5.)

  21          13.    If a business sends any goods, wares, merchandise, or products to a consumer under

  22 an automatic renewal or continuous service agreement without first obtaining the consumer’s

  23 affirmative consent to an agreement containing clear and conspicuous disclosure of all automatic

  24 renewal offer terms, such material is deemed to be an “unconditional gift” to the consumer. (Bus.

  25 & Prof. Code, § 17603.)

  26          14.    In this Complaint, references to an “automatic renewal” arrangement encompass a

  27 “continuous service” arrangement, unless otherwise specified.

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   1          Unfair Competition Law (Bus. & Prof. Code, § 17200 et seq.)

   2          15.      The Unfair Competition Law (“UCL”) defines unfair competition as including any

   3 unlawful, unfair, or fraudulent business act or practice; any unfair, deceptive, untrue, or misleading

   4 advertising; and any act of false advertising. (Bus. & Prof. Code, § 17200.)

   5          16.      Violation of the UCL gives rise to restitution and injunctive relief. (Bus. & Prof.

   6 Code, § 17203.) The remedies of the UCL are cumulative to each other and to the remedies available

   7 under all other laws of California. (Bus. & Prof. Code, § 17205.)

   8                     OVERVIEW OF AVANQUEST’S BUSINESS PRACTICES

   9          17.      Avanquest advertises and sells computer software, including the software program

  10 entitled inPixio Photo Studio, as well as a number of other programs. Avanquest offers and sells its

  11 software       products   online   through   several    websites,   including   but   not   limited   to

  12 https://www.avanquest.com/USA and https://www.inpixio.com. Consumers who purchase an

  13 Avanquest software product go through a purchase sequence established by Avanquest.

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   1          18.    For example, for the software program inPixio Photo Studio, the consumer is asked

   2 to select one of three versions (“Standard,” “Pro,” or “Ultimate”), for a one-year term. After

   3 selecting a version, a consumer is shown the following screen for entry of payment details (here, the

   4 “Pro” version has been selected, reflecting a price of $39.99 for one year):

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  20 A copy of that screen (the “Payment Page”) is attached hereto as Exhibit 3.

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   1          19.    After the consumer fills in the payment details and submits payment, the consumer

   2 is presented with a “Purchase Summary” screen, an exemplar of which (with appropriate redaction

   3 of personal information) is set forth below and is attached hereto as Exhibit 4:

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  24          20.    After the consumer submits payment, the consumer is also sent a “Purchase

  25 Confirmation” email, an exemplar of which (with appropriate redaction of personal information) is

  26 shown below and attached hereto as Exhibit 5:

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  22           21.   When a consumer fills in the Payment Page (Exhibit 3), the left side of the screen

  23 has a section consisting of tiny type that includes one or more boxes that are prechecked by

  24 Avanquest. By means of those prechecked boxes, Avanquest includes one or more add-on charges

  25 in the order. For example, in Exhibit 3, an add-on charge of $9.99 is included with the inPixio Photo

  26 Studio order for “Edit photos on up to 5 PCs! – 1 Year.” By prechecking one or more boxes and by

  27 utilizing tiny and faint type, Avanquest adds charges for items the consumer did not affirmatively

  28 select.

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   1          22.     Although Avanquest software is offered and sold as a fixed price for a limited term

   2 (as illustrated in Exhibit 3), Avanquest unilaterally enrolls the consumer in a subscription that will

   3 automatically renew from one period to the next. In so doing, Avanquest fails to provide the “clear

   4 and conspicuous” disclosure that California law requires for creation of a valid automatic renewal

   5 or continuous service arrangement.

   6          23.     Specifically, as reflected on the Payment Page for inPixio Photo Studio, the only

   7 mention of renewal appears in two fine-print paragraphs set forth in tiny and faint type near the

   8 bottom of the page, beneath and outside of the blue box that contains the white fields for entry of

   9 payment information and the large and colorful PROCESS PAYMENT button. That does not

  10 constitute a “clear and conspicuous” disclosure within the meaning of § 17601(c) because, without

  11 limitation, the two fine-print paragraphs are set forth in a type that is not larger than the surrounding

  12 text (indeed, the type is smaller than surrounding text); it is not presented in a contrasting type, font,

  13 or color to surrounding text of the same size (indeed, it is presented in faint grey type so as to provide

  14 minimal contrast, and the type is smaller than surrounding text); and it is not set off from surrounding

  15 text of the same size by symbols or other marks in a manner that would clearly call attention to the

  16 language (indeed, there are no symbols or other marks to set off those paragraphs, and the type is

  17 smaller than surrounding text). Moreover, those two fine-print paragraphs do not include all of the

  18 “automatic renewal offer terms” required by sections 17601(b) and 17602.

  19          24.     For similar reasons, Avanquest fails to provide an acknowledgment that complies
  20 with California law. Specifically, as illustrated in the “Purchase Confirmation” email for the inPixio

  21 Photo Studio software (Exhibit 5), there is no mention of automatic renewal. Rather, in tiny type,

  22 the top portion of the email mentions that the product “rebills” yearly. Near the bottom of the email,

  23 also in tiny type, there is a mention of “subscription management options,” but no mention

  24 whatsoever of automatic renewal. Further, the only telephone number included in the email is a

  25 telephone number that can be used to “activate your software immediately.” There is no telephone

  26 number, email address, or other information that could constitute a “cost-effective, timely, or easy-

  27 to-use” mechanism for cancellation, as required by § 17602(c).

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   1                                   PLAINTIFF’S TRANSACTION

   2          25.    On April 21, 2022, Plaintiff purchased the “inPixio Photo Studio Pro – 1 Year”

   3 software. On information and belief, Plaintiff went through a purchase sequence that in all material

   4 respects was the same as described above and reflected in Exhibits 3-5. The amount of $39.98 was

   5 charged to Plaintiff’s PayPal account. Plaintiff believed this purchase was a one-time transaction.

   6          26.    The following year, on April 21, 2023, Defendants posted a charge of $39.98 to

   7 Plaintiff’s PayPal account, purportedly for renewal of InPixio Photo Studio Pro and “Edit photos on

   8 up to 5 PCs! – 1 Year!” Plaintiff did not authorize or consent to that charge.

   9          27.    Upon discovering that charge, Plaintiff went online and conducted a live chat with

  10 an Avanquest agent. Plaintiff requested cancellation of the subscription and a full refund of the

  11 $39.98 unauthorized charge. The Avanquest agent denied the refund request and did not cancel

  12 Plaintiff’s (purported) subscription. Plaintiff thereafter contacted PayPal to cancel any renewal and

  13 prevent any further charges by Avanquest.

  14          28.    When Plaintiff made the initial purchase in April 2022, he was not aware that

  15 Defendants would contend he had given consent to be enrolled in an automatic renewal subscription

  16 and for Defendants to post subsequent charges to his PayPal account.

  17          29.    If Plaintiff had known that Defendants were going to enroll him in an automatically

  18 renewing subscription, Plaintiff would not have purchased any Avanquest software.

  19          30.    Plaintiff received no value in return for the renewal charge.

  20          31.    Plaintiff has no intention to purchase any Avanquest product in the future.

  21                    EXPERIENCES REPORTED BY OTHER CONSUMERS

  22          32.    It turns out that Plaintiff’s experience is not an isolated instance. In fact, many
  23 consumers report that they were enrolled in and charged for an Avanquest subscription without their

  24 knowledge or consent. Many consumers also report that when they discovered the charges and

  25 sought to cancel, they found no way to cancel by telephone and Avanquest made it difficult to cancel

  26 through other means. Customer reviews and complaints of Avanquest posted on online, including

  27 the Better Business Bureau (“BBB”) website, indicate that many consumers have been affected by

  28 Defendants’ business practices.

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   1          33.    Illustrative customer complaints and reviews posted on the BBB website

   2 (<https://www.bbb.org/us/ca/riverside/profile/computer-hardware/avanquest-software-1066-

   3 1002280> [as of November 15, 2023]) include the following (copied verbatim):

   4          Steven S. (Aug. 17, 2023). I tried it one time never used it again not even on my
              computer anymore I find out 3 years later they’ve been charging me every year 20
   5          some dollars now all of a sudden this year it’s almost $84 I want my money back I
              don’t even use this product They get a -1000 stars from me Had to get a hold of
   6          PayPal to make sure they cannot Bill me anymore I still want my money back

   7 A true and correct printout of that complaint is attached as Exhibit 6.

   8          Problems with Product/Service. (June 5, 2023). I have not authorize any
              withdrawal from my bank account to Avanquest Software. They have charged my
   9          account $97.00! I demand a refund!

  10 A true and correct printout of that complaint is attached as Exhibit 7.

  11          Problems with Product/Service. (Mar. 17, 2023). I purchased photo software from
              their iNPixio company 02/25/2023, Confirmation Number: U*****Z4, Purchase
  12          Date: 2/25/2023 8:26:13 PM, Total: $45.99. Then a few days later I received a notice
              that they had a upgrade for the software that I had purchased, claiming that the
  13          upgrade would make it Much Faster and Better. So I decided to give it a try. So, on
              Purchase Date: 3/9/2023 4:25:44 PM, Confirmation Number: U******D, Total:
  14          $49.98 which was suppose to only be $39.99 but they added on a $9.99 fee so I could
              load the software on addition** computers. As soon as I noticed the overcharge I
  15          requested a refund for the $9.99 which they ignored. They then were pushing me to
              agree to pay more money for future use of product. I told then, before I spend more
  16          money I’m going to try the update to see if it works any better than my origin**
              purchase. Well, the update didn’t make any improvement and I requested a refund
  17          for the $49.98. Their customer response was “We’ll Get Back to you within 24hrs”
              However they didn’t and I keep asking and they keep ignoring my request. These
  18          people are SCAMMERS. I want my REFUND!!! I’m attaching a document showing
              their delay tactics. I’m a 75 year old senior and can’t afford to lose money like this.
  19          Please Help. Sincerely ** ******
  20 A true and correct printout of that complaint is attached as Exhibit 8.

  21          Problems with Product/Service. (Aug. 13, 2022). date 8/10.2022 AVG-software
              charge 29.99 and 39.99 on same date for software I didnot want. and it says
  22          reoccuring charge. I would like to get my money back if possible and stop this crap
              from happening again. I see you have helped someone else with this same issue.
  23          Recurring Withdr avq-software.com 188-******** VA Date 08/10/21 080682 5817
  24          ACCOUNT CHECKING ACCT *0***-0071 CATEGORY Uncategorized
              AMOUNT - $39.98 Next one.... Recurring Withdr avq-software.com 188-********
  25          VA Date 08/10/22 034153 5817 ACCOUNT CHECKING ACCT *0***-0071
              CATEGORY Uncategorized AMOUNT - $29.99 Thanks for any help you can do.
  26          ******* ****** *********2

  27 A true and correct printout of that complaint is attached as Exhibit 9.

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   1          John I. (July 17, 2022). This company does not even deserve one star. The software
              does not work as described. Even though, the company boasts of a policy of easy
   2          refund if the software does not work; once your money gets into their pocket, you
              cannot get it back. Trying to contact this company either by their own given email or
   3          by their telephone number is like going into a rabbit hole with a warren of
              interconnecting tracts. All the emails I sent to this company came back as daemon
   4          mails. All telephone calls for refund were being transferred from one person to the
              another until there is no more response. If this company does really exist, it must be
   5
              a fraud. Time will catch up with it and it will financially disappear. My advice to
   6          would be customers; please avoid this company completely and do not let them steal
              your money. I do have all my receipts to prove what I am saying and I therefore
   7          challenge this company to contest my story and I will then post all the return daemon
              emails and the receipts of my purchases. **** ****** *** ***** ****** DR **
   8          *****

   9 A true and correct printout of that complaint is attached as Exhibit 10.

  10          Problems with Product/Service. (July 7, 2022). July 7, 2022 AVQ Software charge
              43.29 to my account. I need that money back. It was for inpixio and I know I
  11          cancelled that subscription last month. It was still showing active though. I know I
  12          cancelled it tonight and I want a refund.

  13 A true and correct printout of that complaint is attached as Exhibit 11.

  14          Billing/Collection Issues. (July 2, 2022). An ACH debit appeared as a transaction
              yesterday (07/01/2022) on my checking account record. The descriptor reads,” POS
  15          PURCHASE avq-software.com 188-******** VA 00000*** ***763.” The amount
              is $29.99. Quick online research showed this is some sort of subscription service with
  16          a shaky reputation. Since I was sick in bed yesterday and did nothing using the
              internet, I concluded this is some sort of scam. I’ve never heard of this company and
  17          certainly did not sign up for any service from them. I’m seeking an immediate refund.

  18 A true and correct printout of that complaint is attached as Exhibit 12.

  19          Jeanie W. (June 3, 2022). This software is a joke! Don’t buy! On initial purchase it
              automatically renews and you get charged again within a few. Its impossible to apply
  20          for a refund because the form you complete promising to remove software goes
  21          nowhere -- the email address provided is bogus!

  22 A true and correct printout of that complaint is attached as Exhibit 13.

  23          Billing/Collection Issues. (November 25, 2021). I ordered and used InPixio product
              for a year. No longer needed or used the product. Item I didn’t recognize showed up
  24          on Visa bill. Contacted Avanquest on November 7th 2021 to advise that I hadn’t
              renewed or been advised of renewal. I was told that I had been notified before
  25          renewal. News to me. End result was that my contract was cancelled (I still have that
              email). I just got my new visa bill & it is on there again and now I can no longer
  26          seem to be able to contact this company!

  27 A true and correct printout of that complaint is attached as Exhibit 14.

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   1          Jan B. (Sept. 27, 2020). Dealing with Avanquest has been a real nightmare. They
              put me in their software automatic renewal program without my knowledge or
   2          permission. I looked on my computer and I’ve never even ever downloaded any of
              their software programs. After about 10 requests and numerous phone calls to
   3          PayPal, my bank and Avanquest’s 3 companies, I’ve almost given up ever getting a
              refund from Avanquest, iPixio or Upclick. To make matters worse, they
   4          automatically put me in their email spamming program when I first asked for a refund
              a month ago. So now I get unsolicited emails every day from one of their companies
   5          called Upclick, which is where they send you to in order to ask for a refund. I’m not
              mad. I just want to warn people about this company. If I ever get a refund from them,
   6          I will of course be happy to update this review :)

   7 A true and correct printout of that complaint is attached as Exhibit 15.

   8          34.    Illustrative customer complaints and reviews posted on the TrustPilot website

   9 (<https://www.trustpilot.com/review/www.avanquest.com> [as of November 15, 2023]) include the

  10 following (copied verbatim):

  11          J. Wright. Don’t even buy this software. (June 3, 2022). Don’t even buy this
              software. Useless! It automatically signs you up for renewal and its impossible to get
  12          your money back. They act like it is an easy process completing a destruction form,
  13          but the email address is bogus and can’t be delivered. So much for a refund

  14 A true and correct printout of that complaint is attached as Exhibit 16.

  15          Meredith. Not happy. (Jan. 28, 2021). Not happy, with service. They told me they
              would give a refund on a reoccurring charge then would not give it too me. They
  16          give no notice on their charges. They just bill.

  17 A true and correct printout of that complaint is attached as Exhibit 17.

  18          35.    Illustrative customer complaints and reviews posted on the PissedConsumer website

  19 (<https://avanquest.pissedconsumer.com/review.html> [as of November 15, 2023]) include the

  20 following (copied verbatim):

  21          Jaq. (May 8, 2023). No ability to speak to a person; but perfectly able to take my
              money automatically
  22

  23 A true and correct printout of that complaint is attached as Exhibit 18.

  24          Sally. Cancel subscription. (Aug. 4, 2022). Keep getting charged and have
              cancelled subscription. I need to talk to a customer service. Need help need help need
  25          help need help need hellp

  26 A true and correct printout of that complaint is attached as Exhibit 19.

  27

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   1                                 CLASS ACTION ALLEGATIONS

   2          36.    Plaintiff brings this lawsuit as a class action under Code of Civil Procedure § 382 on

   3 behalf of the following Class: “All individuals in California who, within the statute of limitations

   4 period, purchased an Avanquest software product and were enrolled in an automatic renewal

   5 subscription, limited to individuals who did not receive a full refund. Excluded from the Class are

   6 all employees of Defendants, all employees of Plaintiff’s counsel, and the judicial officers to whom

   7 this case is assigned.”

   8          37.    Ascertainability. The members of the Class may be ascertained by reviewing records

   9 in the possession of Defendants and/or third parties, including without limitation Defendants’

  10 marketing and advertising records, customer records, and billing records.

  11          38.    Common Questions of Fact or Law. There are questions of fact or law that are

  12 common to the members of the Class, which predominate over individual issues. Common questions

  13 regarding the Class include, without limitation: (1) whether Defendants present all statutorily-

  14 mandated automatic renewal offer terms, within the meaning of § 17601(b); (2) whether Defendants

  15 present automatic renewal offer terms in a manner that is “clear and conspicuous,” within the

  16 meaning of § 17601(c); (3) whether Defendants obtain consumers’ affirmative consent to an

  17 agreement containing clear and conspicuous disclosure of automatic renewal offer terms before

  18 charging a credit card, debit card, or third-party payment account; (4) whether Defendants provide

  19 consumers with an acknowledgment that includes clear and conspicuous disclosure of all statutorily-

  20 mandated automatic renewal or continuous service offer terms, the cancellation policy, and

  21 information regarding how to cancel; (5) whether Defendants provide a cost-effective, timely, and

  22 easy-to-use mechanism for cancellation; (6) Defendants’ record-keeping practices; and (7) the

  23 appropriate remedies for Defendants’ conduct.

  24          39.    Numerosity. The Class is so numerous that joinder of all class members would be
  25 impracticable. Plaintiff is informed and believes and thereon alleges that the Class consists of at

  26 least 100 members.

  27          40.    Typicality and Adequacy. Plaintiff’s claims are typical of the claims of the other
  28 class members. Plaintiff alleges that Defendants enrolled Plaintiff and other class members in

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   1 automatic renewal or continuous service subscriptions without disclosing all automatic renewal

   2 offer terms required by law, and without presenting such automatic renewal terms in the requisite

   3 clear and conspicuous manner; charged Plaintiff’s and class members’ credit cards, debit cards, or

   4 third-party payment accounts without first obtaining affirmative consent to an agreement containing

   5 clear and conspicuous disclosure of all automatic renewal offer terms; failed to provide the

   6 acknowledgment required by law; and failed to provide the requisite online and cost-effective,

   7 timely, and easy-to-use mechanisms for cancellation as required by law. Plaintiff has no interest

   8 adverse to the other class members. Plaintiff will fairly and adequately protect the interests of the

   9 class members.

  10          41.     Superiority. A class action is superior to other methods for resolving this controversy.

  11 Because the amount of restitution to which each class member may be entitled is low in comparison

  12 to the expense and burden of individual litigation, it would be impracticable for class members to

  13 redress the wrongs done to them without a class action. Furthermore, on information and belief,

  14 many class members do not know that their legal rights have been violated. Class certification would

  15 also conserve judicial resources and avoid the possibility of inconsistent judgments. Prosecution of

  16 separate actions by individual class members would create a risk of inconsistent or varying

  17 adjudications with respect to individual class members, which would establish incompatible

  18 standards of conduct for Defendants.

  19                                     FIRST CAUSE OF ACTION
  20           False Advertising (Based on Violation of the California Automatic Renewal Law)
  21                             (Bus. & Prof. Code, § 17600 et seq. & § 17535)
  22          42.     Plaintiff incorporates the previous allegations as though set forth herein.
  23          43.     During the applicable statute of limitations period, Defendants have enrolled Plaintiff
  24 and other California consumers in automatic renewal subscriptions and have violated the ARL by,

  25 among other things, (a) failing to present automatic renewal offer terms in a clear and conspicuous

  26 manner before a subscription is fulfilled and in visual proximity to a request for consent to the offer,

  27 in violation of § 17602(a)(1); (b) charging the consumer’s credit card, debit card, or third-party

  28 payment account for an automatic renewal without first obtaining the consumer’s affirmative

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   1 consent to an agreement containing clear and conspicuous disclosure of all automatic renewal offer

   2 terms, in violation of § 17602(a)(2); (c) failing to provide an acknowledgment that includes clear

   3 and conspicuous disclosure of all required automatic renewal offer terms, the cancellation policy,

   4 and information regarding how to cancel, in violation of § 17602(a)(3); and (d) failing to provide an

   5 online and cost-effective, timely, and easy-to-use mechanism for cancellation, in violation of

   6 § 17602(c) and (d).

   7          44.     Plaintiff has suffered injury in fact and lost money as a result of Defendants’

   8 violations of the ARL.

   9          45.     Pursuant to Business and Professions Code § 17603 and § 17535, Plaintiff and class

  10 members are entitled to restitution of all amounts that Defendants charged to Plaintiff’s and class

  11 members’ credit cards, debit cards, or third-party payment accounts for automatic renewal

  12 subscriptions during the limitations period preceding the filing of this action and continuing until

  13 Defendants’ statutory violations cease.

  14          46.     Unless enjoined and restrained by this Court, Defendants will continue to commit

  15 the violations alleged herein. Pursuant to Business and Professions Code § 17535, for the benefit of

  16 the general public of the State of California, Plaintiff seeks a public injunction prohibiting

  17 Defendants from continuing their unlawful practices as alleged herein.

  18                                    SECOND CAUSE OF ACTION

  19                           Violation of the California Unfair Competition Law
  20                                   (Bus. & Prof. Code, § 17200 et seq.)
  21          47.     Plaintiff incorporates the previous allegations as though fully set forth herein.
  22          48.     The Unfair Competition Law defines unfair competition as including any unlawful,
  23 unfair or fraudulent business act or practice; any unfair, deceptive, untrue, or misleading advertising;

  24 and any act of false advertising under § 17500. (Bus. & Prof. Code, § 17200.)

  25          49.     In the course of conducting business in California within the applicable limitations
  26 period, Defendants committed unlawful, unfair, and/or fraudulent business practices, and engaged

  27 in unfair, deceptive, untrue, or misleading advertising, by, inter alia and without limitation:

  28 (a) failing to present automatic renewal offer terms in a clear and conspicuous manner before a

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   1 subscription or purchasing agreement is fulfilled and in visual proximity to a request for consent to

   2 the offer, in violation of § 17602(a)(l); (b) charging the consumer’s credit card, debit card, or third-

   3 party payment account in connection with an automatic renewal or continuous service without first

   4 obtaining the consumer’s affirmative consent to an agreement containing clear and conspicuous

   5 disclosure of all automatic renewal offer terms, in violation of § 17602(a)(2); (c) failing to provide

   6 an acknowledgment that includes clear and conspicuous disclosure of all required automatic renewal

   7 offer terms, the cancellation policy, and information regarding how to cancel, in violation of

   8 § 17602(a)(3); and (d) failing to provide an online and cost-effective, timely, and easy-to-use

   9 mechanism for cancellation, in violation of § 17602(c) and (d). Plaintiff reserves the right to identify

  10 other acts or omissions that constitute unlawful, unfair, or fraudulent business acts or practices,

  11 unfair, deceptive, untrue or misleading advertising, and/or other prohibited acts.

  12          50.     Defendants’ acts and omissions as alleged herein violate obligations imposed by

  13 statute, are substantially injurious to consumers, offend public policy, and are immoral, unethical,

  14 oppressive, and unscrupulous as the gravity of the conduct outweighs any alleged benefits

  15 attributable to such conduct.

  16          51.     There were reasonably available alternatives to further Defendants’ legitimate

  17 business interests, other than the conduct described herein.

  18          52.     Defendants’ acts, omissions, nondisclosures, and statements as alleged herein were

  19 and are false, misleading, and/or likely to deceive the consuming public.

  20          53.     Plaintiff has suffered injury in fact and lost money as a result of Defendants’ acts of

  21 unfair competition.

  22          54.     Pursuant to Business and Professions Code § 17203, Plaintiff and class members are

  23 entitled to restitution of all amounts that Defendants charged to Plaintiff’s and class members’ credit

  24 cards, debit cards, or third-party payment accounts for automatic renewal subscriptions during the

  25 limitations period preceding the filing of this action and continuing until Defendants’ acts of unfair

  26 competition cease.

  27          55.     Unless enjoined and restrained by this Court, Defendants will continue to commit

  28 the violations alleged herein. Pursuant to Business and Professions Code § 17203, for the benefit of

                                                        18
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   1 the general public of the State of California, Plaintiff seeks a public injunction prohibiting

   2 Defendants from continuing their unlawful practices as alleged herein.

   3                                               PRAYER

   4         WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

   5         On the First Cause of Action:

   6         1.      For restitution to Plaintiff and all class members;

   7         2.      For a public injunction;

   8         On the Second Cause of Action:

   9         3.      For restitution to Plaintiff and all class members;

  10         4.      For a public injunction;

  11         On All Causes of Action:

  12         5.      For reasonable attorneys’ fees, pursuant to Code of Civil Procedure § 1021.5;
  13         6.      For costs of suit;
  14         7.      For pre-judgment interest; and
  15         8.      For such other relief as the Court may deem just and proper.
  16 Dated: November 16, 2023                    DOSTART HANNINK LLP
  17

  18
                                                 ZACH P. DOSTART
  19                                             Attorneys for Plaintiff

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                          SENATE JUDICIARY COMMITTEE
                            Senator Ellen M. Corbett, Chair
                              2009-2010 Regular Session


 SB 340
 Senator Yee
 As Amended April 2, 2009
 Hearing Date: April 14, 2009
 Business and Professions Code
 ADM:jd


                                         SUBJECT




                                                                                                  (800) 666-1917
                       Advertising: Automatic Renewal Purchases

                                     DESCRIPTION

 This bill would require, in any automatic renewal offer, a business to clearly and




                                                                                                  LEGISLATIVE INTENT SERVICE
 conspicuously state the automatic renewal offer terms and obtain the customer’s
 affirmative consent to those terms before fulfilling any subscription or purchasing
 agreement on an automatic renewal basis. This bill would also require all marketing
 materials to clearly and conspicuously display a toll-free telephone number, if available,
 telephone number, postal address, or electronic mechanism the customer could use for
 cancellation.

 This bill would require the order form to clearly and conspicuously disclose that the
 customer is agreeing to an automatic renewal subscription or purchasing agreement.

 This bill would impose similar requirements for any automatic renewal offer made over
 the telephone or on an Internet Web page.

 (This analysis reflects author’s amendments to be offered in committee.)

                                     BACKGROUND

 Current consumer protection statutes do not address automatic renewal clauses or
 provisions in subscriptions or purchasing agreements. Senate Bill 340 is intended to
 close this gap in the law.

 When some businesses began using automatic renewals for subscriptions and purchase
 agreements for products and services, consumer complaints began to surface regarding
 those automatic renewals. Consumers complained that they were unaware of and had
                                                                                      Exhibit 1
                                          LIS - 3                            (more)     Page 1
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 not requested the automatic renewals until they either received a bill or a charge on
 their credit card.
 An example of this problem is illustrated by the Time, Inc. (Time) case. After receiving
 numerous consumer complaints, the Attorneys General of 23 states, including
 California, launched an investigation into Time’s automatic renewal subscription offers.
 In 2006, the investigation resulted in a settlement agreement between the Attorneys
 General and Time that includes a number of reforms to automatic renewals that Time
 sends to their customers. Those reforms include, among others, expanded disclosure
 requirements and customers’ affirmative consent to automatic renewals. (See Comment
 2 for details.)

                             CHANGES TO EXISTING LAW

 Existing law, the Unfair Competition Law (UCL), provides that unfair competition
 means and includes any unlawful, unfair, or fraudulent business act or practice and




                                                                                                    (800) 666-1917
 unfair, deceptive, untrue or misleading advertising, and any act prohibited by the False
 Advertising Act (FAA). (Bus. & Prof. Code Sec. 17200 et seq.)

 Existing law, the FAA, includes the following:
 • prohibits any person with the intent, directly or indirectly, to dispose of real or
    personal property, to perform services, or to make or disseminate or cause to be




                                                                                                    LEGISLATIVE INTENT SERVICE
    made or disseminated to the public any statement concerning that real or personal
    property that is untrue or misleading and known or should be known to be untrue
    or misleading; and
 • prohibits any person from making or disseminating any untrue or misleading
    statement as part of a plan or scheme with the intent not to sell that personal
    property or those services at the stated or advertised price. (Bus. & Prof. Code Sec.
    17500.)

 Existing law provides that any violation of the FAA is a misdemeanor punishable by
 imprisonment in the county jail not exceeding six months, or by a fine of $2,500, or by
 both. (Bus. & Prof. Secs. 17500, 17534.)

 Existing law provides that any person who violates any provision of the FAA is liable
 for a civil penalty not to exceed $2,500 for each violation that must be assessed and
 recovered in a civil action by the Attorney General or by any district attorney, county
 counsel, or city attorney. (Bus. & Prof. Code Sec. 17536.)

 Existing law provides that a person who has suffered injury in fact and has lost money
 or property as a result of unfair competition may bring a civil action for relief. (Bus. &
 Prof. Code Sec. 17204.)

 Existing law provides for injunctive relief, restitution, disgorgement, and civil penalties.
 (Bus. & Prof. Code Secs. 17203, 17206.)

                                                                                        Exhibit 1
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 This bill would require all printed marketing materials containing an offer with an
 automatic renewal term to comply with the following: the customer’s agreement to the
 automatic renewal offer must be obtained in accordance with either (1) or (2) below so
 that the customer is given the opportunity to expressly consent to the offer:
 1.            All automatic renewal offer terms must appear on the order form in
    immediate proximity to the area on the form where the customer selects the
    subscription or purchasing agreement billing terms or where the subscription or
    purchasing agreement billing terms are described; the order form must clearly and
    conspicuously disclose that the customer is agreeing to an automatic renewal
    subscription or purchasing agreement; and the automatic renewal offer terms must
    appear on materials that can be retained by the customer.
 2.            Both of the following:
    a. on the front of the order form, the marketing materials must (i) refer to the
    subscription or purchasing agreement using the term “automatic renewal” or
    “continuous renewal,” (ii) clearly and conspicuously state that the customer is




                                                                                                 (800) 666-1917
    agreeing to the automatic renewal, and (iii) specify where the full terms of the
    automatic renewal offer may be found; and
    b. the marketing materials must clearly and conspicuously state the automatic
    renewal offer terms presented together preceded by a title identifying them
    specifically as the “Automatic Renewal Terms,” “Automatic Renewal Conditions,”
    “Automatic Renewal Obligations,” or “Continuous Renewal Service Terms,” or




                                                                                                 LEGISLATIVE INTENT SERVICE
    other similar description.

 This bill would require all marketing materials that offer an automatic renewal, when
 viewed as a whole, to clearly and conspicuously disclose the material terms of the
 automatic renewal offer and must not misrepresent the material terms of the offer.

 This bill would require an automatic renewal to clearly and conspicuously describe the
 cancellation policy and how to cancel, including, but not limited to, a toll-free telephone
 number, if available, telephone number, postal address, or electronic mechanism on the
 Internet Web page or on the publication page of the printed materials.

 This bill would require, in any automatic renewal offer made over the telephone, a
 business to clearly and conspicuously state the automatic renewal terms prior to
 obtaining a customer’s consent and payment information. The business must obtain a
 clear affirmative statement from the customer agreeing to the automatic renewal offer
 terms and must send a written acknowledgement that contains the toll-free number, if
 available, telephone number, postal address, or electronic mechanism for cancellation.

 This bill would require, in any automatic renewal offer made on an Internet Web page,
 the business to clearly and conspicuously disclose the automatic renewal offer terms
 prior to the button or icon on which the customer must click to submit the order. In any
 automatic renewal offer made on an Internet Web page where the automatic renewal
 terms do not appear immediately above the submit button, the customer must be
 required to affirmatively consent to the automatic renewal offer terms. The automatic
                                                                                     Exhibit 1
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 renewal terms must be preceded by a title identifying them as the “Automatic Renewal
 Terms,” “Automatic Renewal Conditions,” “Automatic Renewal
 Obligations,”“Continuous Renewal Service Terms,” or other similar description.

 This bill would require, in any automatic renewal offer, a business to clearly and
 conspicuously state the automatic renewal offer terms and obtain the customer’s
 affirmative consent to those terms before fulfilling any subscription or purchasing
 agreement on an automatic renewal basis and all marketing materials that offer an
 automatic renewal subscription or purchasing agreement must clearly and
 conspicuously display the cancellation policy and how to cancel.

 This bill would provide that no business may represent that a product is “free” if the
 cost of the product is incorporated in the price of the accompanying item purchased
 under automatic renewal conditions.




                                                                                                   (800) 666-1917
 This bill would provide that a violation of the bill’s provisions would not be a crime,
 but all applicable civil remedies would be available.

 This bill would define key terms, including “automatic renewal” and “automatic
 renewal terms.” (See Comment 4.)




                                                                                                   LEGISLATIVE INTENT SERVICE
                                       COMMENT

 1. Stated need for the bill

 The author writes:

    It has become increasingly common for consumers to complain about unwanted
    charges on their credit cards for products or services that the consumer did not
    explicitly request or know they were agreeing to. Consumers report they believed
    they were making a one-time purchase of a product, only to receive continued
    shipments of the product and charges on their credit card. These unforeseen
    charges are often the result of agreements enumerated in the “fine print” on an
    order or advertisement that the consumer responded to. The onus falls on the
    consumer to end these product shipments and stop the unwanted charges to their
    credit card.

    A widespread instance of these violations resulted in the 2006 Time, Inc. case, in
    which Time settled a multi-state investigation into its automatic renewal offers and
    solicitations. The states launched their probe after receiving complaints from
    consumers that Time was billing them or charging their credit cards for unwanted
    magazine subscriptions. The states’ investigation found that these mail solicitations
    misled some consumers into paying for unwanted or unordered subscriptions.


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                                                                                         Page 4
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 2. Time’s Assurance of Voluntary Compliance or Discontinuance (Assurance) with
    Attorneys General; SB 340 modeled after the Assurance

 The Attorneys General of 23 states (States), including California, investigated Time’s
 automatic renewal subscription offers. Time publishes over 150 magazines worldwide,
 including Time, People, Sports Illustrated, This Old House, Entertainment Weekly,
 Fortune, and Popular Science. Time required customers to notify it if they did not want
 a subscription renewal; otherwise Time charged customers’ credit cards or billed
 customers. The automatic renewal terms replaced “the industry’s prior practice of
 offering limited-term subscriptions that were renewed at the Customer’s affirmative
 election.” The States investigated:

    [W]hether the [automatic renewal] terms were clearly and adequately disclosed;
    whether the Customer was given an opportunity to expressly consent to the offer;
    whether the Customer was likely to believe the purchase was for a limited-term




                                                                                                  (800) 666-1917
    subscription, rather than an automatically renewed subscription; whether
    Customers were subsequently informed of the activation of an Automatic Renewal,
    and, if so, the manner in which they were so informed; the manner by which
    Customers were billed or charged; and how Time sought to collect payments for
    charges resulting from an Automatic Renewal. (Matters Investigated set forth in the
    Assurance.)




                                                                                                  LEGISLATIVE INTENT SERVICE
 As a result of the investigation, in 2006, the States reached a settlement agreement – the
 Assurance – with Time. In the Assurance, Time agreed to:
 • provide clear and conspicuous disclosures to consumers concerning all the material
    terms for automatic subscription renewals and, for the next five years, provide
    consumers the option to affirmatively choose an automatic renewal option and Time
    will send those consumers who have chosen an automatic subscription renewal
    written reminders, including information on the right and procedure to cancel;
 • honor all requests to cancel subscriptions as soon as reasonably possible and to
    provide refunds to consumers charged for magazines they did not order;
 • stop mailing solicitations to consumers for subscriptions that resemble bills,
    invoices, or statements of amounts due; and
 • not submit unpaid accounts of automatic renewal customers for third party
    collection.

 Time also agreed to refund to customers up to $4.3 million, which included up to
 $828,463 to 20,238 eligible California consumers, approximately $41 per consumer.
 Senate Bill 340 is modeled in large part after the Assurance.

 3. Remedies available under the bill

 Senate Bill 340 would provide that a violation of its provisions would not be a crime,
 but all applicable civil remedies would be available.

                                                                                      Exhibit 1
                                                                                        Page 5
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 Under the FAA, any person who violates any provision of the FAA is liable for a civil
 penalty not to exceed $2,500 for each violation that must be assessed and recovered in a
 civil action by the Attorney General or by any district attorney, county counsel, or city
 attorney. Under the UCL, a private party may bring a civil action for injunctive relief
 and/or for restitution of profits that the defendant unfairly obtained from that party.
 However, the party must have suffered injury in fact and lost money or property.

 4. Key terms defined

 This bill would define the following key terms:
    a. “Automatic renewal” would mean a plan or agreement in which a subscription
    or purchasing agreement is automatically renewed at the end of a definite term for a
    subsequent term.
    b. “Automatic renewal offer terms” would mean the following clear and
    conspicuous disclosure:




                                                                                                  (800) 666-1917
    • that the subscription or purchasing agreement will continue unless the customer
        notifies the business to stop;
    • that the customer has the right to cancel;
    • that the customer will be billed, credit card charged, or other appropriate
        description of the payment method depending on the method described to the
        customer, or chosen by the customer on the front of the order form, and that the




                                                                                                  LEGISLATIVE INTENT SERVICE
        bill, charge, or other payment method will take place before the start of each new
        automatic renewal term;
    • the length of the automatic renewal term or that the renewal is continuous,
        unless the length of the term is chosen by the customer;
    • that the price paid by the customer for future automatic renewal terms may
        change; and
    • the minimum purchase obligation, if any.
    c. “Clear and conspicuous” or “clearly and conspicuously” would mean a statement
    or communication, written or oral, presented in a font, size color, location, and
    contrast against the background in which it appears, compared to the other matter
    which is presented, so that it is readily understandable, noticeable, and readable.
    d. “Marketing materials” would include any offer, solicitation, script, product
    description, publication, or other promotional materials, renewal notice, purchase
    order device, fulfillment material, or any agreement for the sale or trial viewing of
    products that are delivered by mail, in person, television or radio broadcast, e-mail,
    Internet, Internet Web page, or telephone device, or appearing in any newspaper or
    magazine or on any insert thereto, or Internet link or pop-up window.

 5. Recording of telephone automatic renewal offers

 Assembly Bill 88 (Corbett, Ch. 77, Stats. 2003) incorporated into state law a rule adopted
 by the Federal Trade Commission intended to protect consumers from “abusive”
 telemarketing practices. The rule requires, among other things, that telemarketers make

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 and maintain an audio recording of all telephone solicitations. (Telemarketing Sales
 Rule, 16 C.F.R. Part 310, 310.4(a)(6)(i), and 310.5(a)(5), effective March 31, 2009.)

 The author may want to consider requiring that telephone automatic renewal offers be
 audio recorded and that the recording be maintained.

6. Author’s amendments

 On page 3, line 17, insert:
 (c) “Continuous renewal” means a plan or arrangement in which a subscription or
     purchasing agreement is continuously renewed until the customer cancels the
     renewal.

 On page 3, line 19, delete (c) and insert (d).




                                                                                                    (800) 666-1917
 On page 3, line 34, delete (d) and insert (e).

 On page 3, line 36, delete (e) and insert (f).

 On page 4, line 4, insert (f).




                                                                                                    LEGISLATIVE INTENT SERVICE
 On page 4, line 5, insert:
 (g) All automatic renewal provisions in this article shall apply to continuous renewals.


 Support: California Public Interest Research Group; Consumer Federation of
 California; American Federation of State, County and Municipal Employees; California
 Alliance for Consumer Protection

 Opposition: None Known

                                           HISTORY

 Source: Author

 Related Pending Legislation: None Known

 Prior Legislation: None Known

                                           ************




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                                               Exhibit 2
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 Date of Hearing: June 30, 2009

                          ASSEMBLY COMMITTEE ON JUDICIARY
                                      Mike Feuer, Chair
                           SB 340 (Yee) – As Amended: June 24, 2009

                      PROPOSED CONSENT (As Proposed to be Amended)

 SENATE VOTE: 37-0

 SUBJECT: AUTOMATIC RENEWAL AND CONTINUOUS SERVICE OFFERS

 KEY ISSUE: SHOULD A BUSINESS THAT MARKETS A PRODUCT WITH AN
 "AUTOMATIC RENEWAL OFFER" BE REQUIRED TO CLEARLY AND
 CONSPICUOUSLY DISCLOSE RENEWAL TERMS AND CANCELLATION POLICIES,
 AND TO OBTAIN THE CUSTOMER'S AFFIRMATIVE CONSENT TO AN AUTOMATIC




                                                                                                      (800) 666-1917
 RENEWAL?

 FISCAL EFFECT: As currently in print this bill is keyed non-fiscal.

                                            SYNOPSIS




                                                                                                      LEGISLATIVE INTENT SERVICE
 This non-controversial bill, which received a unanimous vote on the Senate floor, seeks to
 protect consumers from unwittingly consenting to "automatic renewals" of subscription orders
 or other "continuous service" offers. According to the author and supporters, consumers are
 often charged for renewal purchases without their consent or knowledge. For example,
 consumers sometimes find that a magazine subscription renewal appears on a credit card
 statement even though they never agreed to a renewal. Indeed, this problem led 23 state
 attorneys general to launch an investigation of Time, Inc., in response to claims that the
 company used deceptive practices in signing up customers for automatic subscription renewals.
 As part of a settlement of this dispute, Time agreed to institute new practices so that customers
 are fully aware of and affirmatively consent to automatic renewals. This bill, following the lead
 of the Times' settlement, would require that renewal terms and cancellation policies be clearly
 and conspicuously presented to the consumer, whether the offer is made on printed material or
 through a telephone solicitation. In addition, the bill would require that the consumer make
 some affirmative acknowledgement before an order with an automatic renewal can be
 completed. Finally, the bill specifies that violation of the bill's provisions do not constitute a
 crime. The author has worked closely with affected business interests and has made several
 amendments that appear to address all stakeholders' concerns. There is no registered
 opposition to the bill.

 SUMMARY: Requires any business making an "automatic renewal" or "continuous service"
 offer to clearly and conspicuously, as defined, disclose terms of the offer and obtain the
 consumer's affirmative consent to the offer. Specifically, this bill:

 1) Makes it unlawful for any business making an automatic renewal offer or a continuous
    service offer to a consumer to do any of the following:


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    a) Fail to present the offer terms in a clear and conspicuous manner, as defined, before the
       subscription or purchasing agreement is fulfilled and in visual proximity, or in the case of
       an offer conveyed by voice, in temporal proximity, to the request for consent to the offer.
    b) Charge the consumer's credit or debit card or the consumer's account with a third party
       for an automatic renewal or continuous service offer without first obtaining the
       consumer's affirmative consent.
    c) Fail to provide automatic renewal or continuous service offer terms, cancellation policy,
       and information regarding how to cancel in a manner that is capable of being retained by
       the consumer. If the offer includes a free trial, the business shall disclose how to cancel
       and allow the consumer to cancel before the consumer pays for the goods or services.

 2) Requires a business making automatic renewal or continuous service offers to provide a toll-
    free telephone number, electronic mail address, a postal address if the seller directly bills the
    customer, or another cost-effective, timely, and easy-to-use mechanism for cancellation that
    shall be described in the written acknowledgment.




                                                                                                          (800) 666-1917
 3) Specifies that in the case of a material change in the terms of an automatic renewal or
    continuous service offer that has been accepted by the consumer, the business shall provide
    the consumer with a clear and conspicuous notice of the material change and provide
    information regarding how to cancel in a manner that is capable of being retained by the
    consumer.




                                                                                                          LEGISLATIVE INTENT SERVICE
 4) Specifies that the requirements of this bill shall only apply to the completion of the initial
    order for the automatic renewal or continuous service, except as provided.

 5) Provides that in any case in which a business sends any goods, wares, merchandise, or
    products to a consumer, under a continuous service or automatic renewal, without first
    obtaining the consumer's affirmative consent, in the manner required by this bill, then the
    goods, wares, merchandise, or products shall be deemed an unconditional gift to the
    consumer, and the business shall bear any shipping or other related costs.

 6) Provides that violation of the provisions of this bill shall not be a crime, but that all civil
    remedies that apply to a violation may be employed. Specifies, however, that if a business
    complies with the provisions of this bill in good faith, it shall not be subject to civil remedies.

 7) Exempts from the provisions of this bill any service provided by certain businesses or
    entities, including those regulated by the California Public Utilities Commission, the Federal
    Communication Commission, or the Federal Energy Regulatory Commission.

 EXISTING LAW:

 1) Provides, under the Unfair Competition Law (UCL), that unfair competition includes any
    unlawful, unfair, or fraudulent business act or practice, including any unfair, deceptive, or
    untrue advertising, or any act prohibited by the False Advertising Act (FAA). (Business &
    Professions Code Section 17200 et seq.)

 2) Prohibits any person with the intent, directly or indirectly, to sell any goods or services by
    making or disseminating statements that the person knows, or should know, to be untrue or
    misleading, and prohibits any person from making or disseminating any untrue or misleading
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    statement as part of a plan or scheme to sell goods or services at other than the stated or
    advertised price. (Business & Professions Code section 17500.)

 3) Provides that any violation of the FAA is a misdemeanor. (Business & Professions Code
    sections 17500, 17534.)

 4) Provides that any person who violates any provision of the FAA is liable for a civil penalty
    not to exceed $2,500 for each violation that must be assessed and recovered in a civil action
    by the Attorney General or by any district attorney, county counsel, or city attorney.
    (Business & Professions Code section 17536.)

 5) Provides that a person who has suffered injury in fact and has lost money or property as a
    result of unfair competition may bring a civil action for relief. (Business & Professions Code
    section 17204.)

 6) Provides for injunctive relief, restitution, disgorgement, and civil penalties for FAA




                                                                                                     (800) 666-1917
    violations. (Business & Professions Code sections 17203, 17206.)

 COMMENTS: This non-controversial bill is a response to reported consumer complaints that
 certain businesses, especially those offering magazine subscriptions or other potentially
 continuous services, lure customers into signing up for "automatic renewals" without the
 consumer's full knowledge or consent. This bill seeks to address this problem by requiring clear




                                                                                                     LEGISLATIVE INTENT SERVICE
 disclosures and affirmative acts of customer consent. The author states:

        It has become increasingly common for consumers to complain about unwanted
        charges on their credit cards for products or services that the consumer did not
        explicitly request or know they were agreeing to. Consumers report they believed
        they were making a one-time purchase of a product, only to receive continued
        shipments of the product and charges on their credit card. These unforeseen charges
        are often the result of agreements enumerated in the ‘fine print’ on an order or
        advertisement that the consumer responded to. The onus falls on the consumer to
        end these product shipments and stop the unwanted charges to their credit card.

 As noted in the author's background material, this bill was prompted in part by an investigation
 brought by the attorneys general of 23 states, including California, against Time, Inc. The
 investigations found that subscribers to several magazines published by Time, Inc. were
 discovering that their subscriptions were automatically renewed even though the customers
 claimed that they had never knowingly consented to the renewals. In 2006, the investigation
 resulted in a settlement agreement between the Attorneys General and Time that requires Time to
 more clearly disclose renewal terms and ensure that the consumer take some affirmative step to
 acknowledge consent or rejection of the automatic renewal offer. According to the author, the
 specific disclosure and consent requirements in this measure are modeled after, though not
 identical to, those set forth in the Time settlement.

 ARGUMENTS IN SUPPORT: According to the California Public Interest Research Group
 (CALPIRG), "this bill will help ensure that consumers only get into an ongoing subscription if
 they want to." According to the Consumer Federation of California, this measure will curb
 deceptive marketing practices that are used to sell everything from magazine subscriptions to
 "free trial" offers that lock consumers into an ongoing purchase agreement. Supporters generally
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 contend that this is a straightforward measure reflecting the basic premise that consumers
 deserve to know the terms and conditions to which they are agreeing.

 Author's Technical Amendments: The author wishes to take the following technical and
 clarifying amendments:

    •   On page 4 after line 9 insert:

 (e) “Consumer” means any individual who seeks or acquires, by purchase or lease, any goods,
 services, money, or credit for personal, family, or household purposes.

    •   On page 4 line 32 and on page line 16 change "customer" to "consumer"


 PRIOR LEGISLATION: AB 88 (Chapter 77, Stats. of 2003) provides that a contract for a good
 or service that is made in connection with a telephone solicitation is unlawful if the telemarketer




                                                                                                       (800) 666-1917
 is in violation of a recent Federal Trade Commission (FTC) rule requiring that the seller obtain
 specified information and express consent directly from the consumer and, under certain
 circumstances, maintain a recording of the call. (This present bill would similarly require that
 automatic renewal offers made over the telephone comply with federal telephonic marketing
 regulations.)




                                                                                                       LEGISLATIVE INTENT SERVICE
 REGISTERED SUPPORT/OPPOSITION:

 Support:

 California Alliance for Consumer Protection
 California Public Interest Research Group (CALPIRG)
 Consumer Federation of California

 Opposition:

 None on file


 Analysis Prepared by: Thomas Clark / JUD. / (916) 319-2334




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                                                                                  Purchase Summary
                  Let's do it together
                  The easiest way                                                 Access your purchase by using the information below

                                24/7 Chat Support                                     Product                                                                            Price

                  ..,, -        Al ready included with your purchase
                                We're here to help I                                  inPixio Photo Studio Pro -1 Year (Promo)                                        $39.99

                                                                                      This product does n ot require a lk:en se Ke y
                                                                                      I year for $39.99, th en rebill s a t $79.9 9 yearly (u ntil cancelled)


                                                                                          CllCK HERE FOR ACCESS
                  We'll Do The Follow ing:
                 !a Install and Activate the Software on you r PC                                                                                                        $9.99
                                                                                      Edit photos on up to 5 PCs! - 1 Year
                  l!':a Check software settings
                                                                                      Th is p roduct does not require a lk::en se Key
                  l!':a Advice on PC security & Performance                           I year for $9.9 9, th en rebills a t $9.99 yearly {unt il cancelled )

                  &!'l Get general quest ions answered
                                                                                  ◄-IIHilifli?Hf-
                                                                                                                                                                Total: $49.98

               Please note that you will a lso receive an email containing your
               order informa tio n within the next 15 m inutes. Should you not
               receive this email, p lease check your junk and spam fo lders to
               ensure that our message has not been filtered out. Should you
               still not locate this email p lease contact ~ R P Q i l to
               have this information fo rwarded to you                            Billing Information
                                                                                      First Name·           -
               ml 24/7 Ticket Support                                                 Last Name:             -




                                                                                                            -
               Send us a message by using the form located tlil.re:                   Ema il:
                                                   1-877-689-3648                     Address:                   CA, United Stotes, -
                                                                                      Transaction
                                                                                                                 27/06/2023
                                                                                      Date
                                                                                      Order ID
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                                                                                  I     Jun 27          lnPil<ioSo!twr.com o, lnplxlo.o-bm.com                  $49.98     I


                                                                                  depending on your bonk's settings.




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  - M Gmail             0.. Search mail


  J'      Compose


                               inPixio Photo Studio Pro - 1Yea r - Pu rchase Confirmation
  i;;;J   lnbox

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                                                                                PURCHASE CONFIRMATION
                                                                                                                                                                                                                 +
  Labels            +
                                                                                Than k yo u for buying inPixio Photo Stud io

                                                                                As th is email contains important inform ation, we recommen d to pri nt or sa ve thi s email




                                                                                ORDER DETAILS

                                                                                i nPixi o Ph ot o Stud io
                                                                                Pr o-1 Yea r
                                                                                (Prom o)

                                                                                This product d oes not req uire a lice nsekey.
                                                                                l yea r for539.99, t hen re bills at 579.99 yearly (unti l cance lled ).

                                                                                Cl"ckhueforaccess


                                                                                Ed it photos on up to 5 PC s!        1 Year
                                                                                This product d oes not req uire a lice ns e key
                                                                                l yearforS9.99,the nre billsat S9.99 yearly(u nti l can ce lled ).

                                                                                Cli<khuefora«us




                                                                                ACTIVATION ASS ISTA NCE



                                                                                                                              Call

                                                                                                                    1-877-689-3648
                                                                                                    to activate your software 1mmed1ately


                                                                               A free service included with you r purchase: Remote activatio n of your software by one
                                                                               of our agents

                                                                               Ou r experts use 100% securetechnology
                                                                               to activate your software remotely on your
                                                                               PC and help you adjust the
                                                                               recom mended settings of your product
                                                                               We will gladty provide you with additional
                                                                               informationa rKl assisl ance !
                                                                               Service available 24 hours a day, 7 days
                                                                               a week


                                                                                Ca ll now
                                                                                 1-877-689-3648 (free of charge)



                                                                                BILLING INFORMATION


                                                                               Confirmation Number: -

                                                                                Purchase Date: 6127/2023 8:36:06 PM

                                                                               Total $49.98


                                                                               This tra nsaction will be displayed on your Bank Statemen t as inPixioSoflwr com or as
                                                                               i n ~ depending on your bank'ssetting s Details ofy ourpurchase,
                                                                               including invoices and subscriptio n management options, can be found by clicking
                                                                               rum,
                                                                                If you have any questions regarding this transacti on or need assistance with the
                                                                                product, please feel free to check outour . l : k ! ~ or submit a request toou r
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                                                                               Yours Sincerely,
                                                                               The Upcli ck Team ,

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 n            Stevens

 ~            *0 0 0 0                                                             08/17/2023

 I tried it one time never used it aga in not even on my com puter anymore I find out 3 yea rs
 later they've been charging me every year 20 some dollars now all of a sudden this year
 it's almost $84 I want my money back I don 't even use this product They get a -1000 stars
 from me Had to get a hold of PayPal to make sure they ca nnot Bill me anymore I still want
 my money back




 Avanquest Software Response                                                       08/18/2023
 Dea r BBB,
 I have searched our customer database for the name or email address, and it failed to find
 any matches. If I could locate the customer, I would be happy to refund the full purchase
 price of the software.




                                                                                       Exhibit 6
                                                                                        Page 15
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                                                    Exhibit 7
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  Complaint Type:
  Problems with Product/Service
  Status:
  Resolved 8

   •         Initial Complaint
   41a       06/ 05/ 2023

  I have not authorize any withdrawal from my bank account to Avanquest Software. They
  have charged my account $97.00! I demand a refund!



       0      Business response
       .ia    06/ 06/ 2023

   The custome r was charged for the renewal of Soda PDF **** ****.

   The renewa l amount of 97.90 USO was refunded .
   I spoke to Mrs. *** **** and explained to her that we have refunded her credit card
   $97.90.




                                                                                    Exhibit 7
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                                                    Exhibit 8
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 Complaint Type:
 Proble ms w ith Product/Service
 Status:
 Resolved 8

   •       Initial Complaint
  A        03/17/2023

 I pu rchased photo software from their iNPixio compa ny 02/ 25/2023, Confirmation
 Number: U*****Z4, Purchase Date: 2/25/2023 8 :26:13 PM, Total: $45.99. Then a few days
 later I received a notice that they had a upgrade for the software that I had purchased,
 cla iming that the upgrade would make it Much Faster and Better. So I decided to give it a
 try. So, on Purchase Date: 3/9/2023 4 :25:44 PM, Confirmatio n Number: U******D, Total:
 $49.98 which was suppose to only be $39.99 but they added on a $9.99 fee so I could
 load t he software on add ition** computers. As soon as I noticed the overcharge I
 requested a refund for the $9.99 w hich they ig no red. They then we re pushing me to
 agree to pay more mo ney for future use of product. I told then , before I spend mo re
 money I'm going to try the update to see if it works any better t han my o rigin** purchase.
 Well, t he update didn't make any improve ment and I requested a refund for the $49.98.
 Their customer response was "We'll Get Back to you w ithin 24hrs" How ever t hey d idn't
 and I keep asking and they keep ignoring my request. These people are SCAMMERS. I
 wa nt my REFUND!!! I'm attaching a document showing t heir delay tact ics. I'm a 75 year o ld
 sen ior and ca n't afford to lose money like this. Please Help. Sincerely •• ••••••



       0    Business response
    ~       03/ 20 /2023



   Dear *****,

   I am sorry to hear about the difficult ies you have been experiencing with our
   compa ny, and I understand your frustration. As a va lued customer, your satisfaction
   is our top priority, and we take your concerns very seriously.




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    Please accept our apologies for any delay in getting back to you. We strive to
    respond to all customer inquiries within 24 hours, but it seems we fell short in your
    case. We wi ll make sure to investigate th is issue and take appropriate measures to
    prevent it from happening again in the f uture.

    Regarding your refund request, I would like to assure you that we are committed to
    resolving this matter to your satisfaction. We have reviewed your account and
    confirmed t hat you are eligible for a refund of the $9.99 Edit photos on up to 5
    PCs!- 1 Year option and well of the for inPixio Photo Studio Ultimate - 1 Year for
    39.99, and we have init iated the refund process. The f unds should be returned to
    your account within 3-5 business days.



    Once aga in, please accept our apo logies for any inconvenience caused, and please
    do not hesitate to contact us if you have any f urther questions or concerns. We
    value your business and appreciate your patience and understanding.




    •     Customer response
   A      03/24/2023

  Better Business Bure,au:

  I have reviewed the response made by t he business in refe rence to complaint ID 19****79,
  and find that this resol ution is satisfactory to me.
  Provided that they actually send t he refund. Haven't received it yet b ut I know the banks
  hold our mo ney before they send it.




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 Complaint Type:
 Proble ms w ith Product/Service
 Status:
 Answered 8

   •         Initial Complaint
  A          08/13/2022

 date 8/10.2022 AVG-software charge 29.99 and 39.99 on same date for software I didnot
 want. and it says reoccuring charge. I would like to get my money back if possible and
 stop this crap from happening again. I see you have helped someone else with this same
 issue. Recu rri ng Withdr avq-software.com 188-******** VA Date 08/10 /21 080682 5817
 ACCOUNT CHECKING ACCT *0***-0071 CATEGORY Uncategorized AMO UNT - $39.98
 Next one .... Recurring Withdr avq-software.com 188-******** VA Date 08/10/22 034153 5817
 ACCOUNT CHECKING ACCT *0***-0071 CATEGORY Uncategorized AMO UNT - $29.99
 Thanks for any help you can do. ••••••• ****** *********2



       .0.    Business response
   .i.        08/15/2022



  Hi *******,

  Thank you for your email. I would be happy to help.

  According to our records, you have purchased the software ca lled inPixio Photo
  Studio Pro - 1 Year

  https://www.inpixio.com/ photo-studio/


  Please be informed that during the initial purchase of t rhis software on 8/10/ 2021
  1:05:54 PM, you agreed to the Elect ronic Fund Transfer Aut horization

  https://store.inpixio.com/ Legal.aspx?
  p1=JLQy4aoyoVM%3D&p3=%2F0x4zndRSo0%3D&p4=DmYSD18sR28%3D


  According to it, your subscript ion plan has an automatic renewal service, which
  means that your account will automatica lly re new at an yearly inte rval.




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  Th is se rvice is designed to save you t im e, effort, and risk by extending you r
  subsc ript ion automatica lly before it expires .

  Please note t hat for the subsc ript ions pu rchased t hrough the official website,
  ca nceling a subscri pt ion does not resu lt in a refund for any previous subsc ript ion
  charges. Right now, you can continue to use t he features of your subsc ript ion
  following cance llation unti l the e nd of your bi lling period. You w ill not be charged
  aga in unless yo u reactivate your subscri pt io n.


  As req uested by you , I have processed the refu nd in t he amount of 29.99 USO to
  your Visa *** ** ** an d it shou ld reflect in you r ban k account in 5-7 business days.

  You w ill also get a co nfirmation email rega rding th is refund w it hin t he next 24 hours;
  please make su re to check you r Jun k, Bulk, or Spam fo lders if yo u do not see th is
  email w it hin th is period.

  If yo ur refund has not appea red w it hin 7 business days, please contact us an d we
  wi ll do our best to provid e you w it h addit ional info rmation on the status of your
  refund.

  I'm sad to see you go, but I hope t hat we could work together in the futu re when ou r
  products wi ll be useful for you or your business.

  Regards !




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                                                                                           07/17/2 022

 This company does not even deserve one star. The software does not work as described.
 Even though, the com pany boasts o f a pol icy of easy refund if the softw are does not w o rk ;
 once your money gets into their pocket, you cannot get it back. Trying to contact this
 company either by their ow n given email or by their telephone number is like going into a
 rabbit hole with a wa rren of intercon necting t racts. All the ema ils I sent to this company
 came back as daemon mails. Al l telephone calls for refu nd were bei ng transferred from
 one person to the another until there is no more response. If this company does really
 exist, it must be a fra ud. Time w ill catch up with it and it will fi nancia lly disappea r. My advice
 to wou ld be customers; please avoid this company completely and do not let t hem steal
 your money. I do have al l my receipts to prove what I am saying and I therefore challenge
 this company to contest my story and I w ill then post all t he return daemon emails and t he
 receipts of my purchases . .... •••••• ... ..... ...... DR •• •••••




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 Complaint Type:
 Problems with Product/Service
 Status:
 Answered 8

   •       Initial Complaint
   41a     07/07/2022

 July 7, 2022 AVQ Software charge 43.29 to my account. I need that money back. It was
 for inpixio and I know I cancelled that subscription last month. It was still showing active
 though. I know I cancelled it ton ight and I want a refund.



       0    Business response
    .i.     07/13/ 2022

   Hi the re,

   please find t he rfu nd confirmation attached.

   Regards!




                                                                                   Exhibit 11
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                                               Exhibit 12
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 Complaint Type:
 Billing/Collection Issues
 Status:
 Answered 8

   •         Initial Complaint
  -          07/ 02/2022

 An ACH debit appea red as a t ransaction yesterday (07/0 1/ 2022) on my checking account
 record . The descriptor reads," POS PURCHASE avq-software.com 188-******** VA 00000***
 +++763." The amount is $29.99. Quick on line research showed this is some sort of
 subscription service w ith a shaky reputation. Since I was sick in bed yesterday and d id
 nothing using t he internet, I concluded t his is some sort of sca m. I've never heard of this
 company and certai nly did not sign up for any service from them. I'm seeking an
 immediate refund .



       .0.    Business response
   .i.        07/ 05/2022

  Hi there,


  Thank you for request. I will be glad to assist you with the billing inquiry.


  According to our records, Karenfa·ans has an active subscription for inPixio P hoto Studio program, initially
  purchased on Jul 1 2021. As it is a yearly subscription, a11d the customer was charged on Jul 1 2022 to renew




  Your order ID for th.is purchase is: UQ*****R


  Please note that our company sends an aut01natic email ,vith the pr.ice, terms, and related details of the
  upcoming r ene\\·al 30 days before it takes place. Please make sure to check your Junk, Bulk or Spam folders
  if you did not receive this email.


  Refund has been already initiated, customer will get the refund confirmation within 24-48
  hours.




                                                                                                           Exhibit 12
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                                               Exhibit 13
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                                           ID #:67




 e          jeaniew
            • 0000                                                                     06/03/2022

 Th is softw are is a j oke! Don't buy! On init ial purchase it automatica lly renew s and you get
 charged agai n with in a few. Its impossible to apply for a refund because t he form you
 complete pro mising to remove softw are goes now here -- t he email address provided is
 bogus!




                                                                                           Exhibit 13
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                                               Exhibit 14
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                                           ID #:69



    Complaint Type:
    Billing/Collection Issues
    Status:
    Answered 8

      •        Initial Complaint
     ~         11/25/2021

    I ordered and used lnPixio product for a year. No longer needed o r used t he product. Item
    I d idn 't recogn ize show ed up on Visa bill. Contacted Avanquest on November 7th 2021 to
    advise that I hadn't renewed or been advised of renew al. I was told that I had been
    notified before renew al. News to me. End result was that my contract w as ca ncelled (I still
    have that email). I j ust got my new visa bill & it is on there aga in and now I can no longer
    seem to be able to contact this compa ny!



          .0    Business response
      .i.       12/09/2021

     Hi ******
                   '
     Than k you for your complaint.


     According to our records you have purchased the inPixio software on 11/ 7/ 2019.


     All paid subscriptions to inPixio software are automatica lly enrolled in the Auto-
     Renewal program as described during the initial pu rchase. Please note that this
     service keeps your softw are cu rrent with the latest progra m updates and
     en hancements. It automatically cha rges the current renew al subscription fee (plus
     applicable taxes) to your credit or debit ca rd before your license expires so that yo u

     do not experience a service disruption.


     Our compa ny sends you an automatic ema il with price, terms, and related details of

     the renewal before we charge you so t hat you know it is coming.


     Enrollment in Automatic Renewal Serv ice is 100% o ptional. We provide Automatic
     Renewal Service to help you save you t ime and money, but there are some

     occasions w here you might o nly want to pu rchase a 1-yea r license of ou r softw are.
     During these occasions, you can easi ly opt-out of Automatic Renew al Service withi n
     the shopping cart before purchasing and subm itting you r order, or you can cancel

     the service any t ime during the billing cycle.

                                                                                           Exhibit 14
                                                                                             Page 25
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    Accord ing to o ur records, yo u have contacted the customer service on Nov e me be r

    7 a nd confirmed t hat yo u have had the service before but no longer using it. You

    mentionned that you hadnt authorize the auto-payment. Please review the attached screenshot

    from the checkout page where the terms of the sale are described. Clicking on button Process

    Payment you accept the terms of the sa le. As you have contacted us after the recurring

    payment date our customer service agent has cancelled the software subscription for you.



    Please note that canceling your subscription stops all future billing renewa ls, but does not

    result in a refund of your existing product. You will still have access to the product until it

    expires.



    Let me know if you have any questio ns or concerns.



    Sincere ly,
    ****

    Customer Success Specia list




    •       Customer response
   ~        12/09/2021

   I am rejecting this response because: The notice of renewal was emailed @ 6am &
  because I no longer was interested in the product -went to junk mail. They assume I
  received the notice & complied. I understand that they have agreed to a non-renewal
  of this product but I DO NOT want to pay for a negative billing process to which I did
  not agree. I di not want to receive any further charges for this product. Period!
  Thank you
  ****** ******




                                                                                             Exhibit 14
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                                               Exhibit 15
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                                                            ID #:72




 n          Jan B

 ~ *****                                                                                            09127/2020

 Dealing wttll Avanquest has been a r!?<II nightmare. Ttiey put me In their softw are automatic renewal
 program without my knowledg e o r permlssJon. I looked on my comp U1e1 and I've n~ver even ever
 downloaded any of their software programs.. After about 10 re-qui?Sts and numerous phone calls t o
 PayPal. my bank and Avanq uest's 3 companl~ . l'w almost given up ever ~ttlng a refund from
 Avanqu~ :i.. IPlxlo or Upcllck. To make maners worse. ihey automaUcally p tn me In th~ r email
 spamming program when I first ask~ fo r a refund a month ago. So now I get unsolicited emalls every
 day from o ne of their compan.li?S e.clfled Upcllck. which Is where tl'tey send you t o In o rder t o ask for a
 refund. I'm not mad. I Just want t o warn peop lE? about this company. If I ever get a refund from them. I
 wlll of course be hap py t o upda1e this review :)




 Avanques1 SoftwQre ~espon se                                                                       09/28/'2 0 20

 Company R~po~: W~ apologize for any lnconv~lllence. but wl!h the Information provld~d. this ord~r
 was purchased throug h upcllck.com / software-uc,.com which s~lls our softw are and Is an authoriz ed
 s~ll~r for us. How~ver. w ~ do not have ac<ess t o th.~ r syst em and ihey do not hav~ acc~s i Oours.
 cust o~ rs who purchas~ from upcllck.com I softw are-uc.com yo u wlll ne~ t o contact tllem d irectly.
 Pl~se se~ b~low o n how to comacqUpclick fo r support or refunds. Upcllck - ###-###-####
 •• • •• • '@avanquest.zend~.com




                                                                                                                           Exhibit 15
                                                                                                                             Page 27
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             J. Wright
    JW       1 review    @ US



   a                                                                                       Jun 3, 2022

   Don"t even buy this software
   Don't even buy this software. Useless! It aut omatically signs you up for renewal and
   its impossible to get your money back. They act like it is an easy process completing
   a destruction form, but the email address is bogus and can 't be delivered. So much
   for a refund

   Date of experience: June 03, 2022


    ifJ Useful     ~ Share


     I::;>   Reply from Avanquest Software                                               Jun 3, 2022

             Hello J. Wright,
             Thank you for letting us know that you would like to cancel your order. We can certainly
             help you .
             We have sent a request for your contact information . Please answer our request and we
             will help you w ith your refund request.




                                                                                                Exhibit 16
                                                                                                  Page 28
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            Meredith
    ME
            2 reviews   @ US


   a                                                                                      Jan 28, 2021

   Not happy
   Not happy, with service. They told me they wou ld give a refund on a reoccurring
   charge then wou ld not give it too me. They give no notice on their charges. They just
   bill.

   Date of experience: January 28, 2021


    16 Useful     ~ Share


     I:;>   Reply from Avanquest Software                                               Feb 16, 2021

            Hi Meredith,
            1am sorry 11 you were caugnt orr guara oy our 0I111ng. we aIways sena a not111cat1on
            about upcoming renewal so you can decide if you want to cancel your subscription or
            leave it. I am sory bu1 as you have not left any refences to your order I cant checK your
            cancellation request. Please contact our customer support to get assistance with your
            request: https://avanquest.zendesK.com/hc/en -us/requests/new




                                                                                                Exhibit 17
                                                                                                  Page 29
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                                               Exhibit 18
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          UlisesJaq
   •      New Orleans, Louisiana, United States


   No ability to speak to a person; but perfectly able to take my money
   automatically
   May 08, 2023          ('             1.0

   Legends dishes••• Jed HD had he of a J.D. Jeff he or he had he he he he Va mercenaries uttered scenes
   scandals

   Preferred solution: Full refund



   F+i::i::ii:ii 16           Helpful

   1 comment




   •      lnPixioCares
          May 09, 2023

          Hello, Thanks for sharing that you want to get in touch with us. You can call us at one of these numbers
          https/ /*../contactaspx You can also communicate with our agents in the live chat or submit a request

          ~ Reply        16 Helpful




                                                                                                          Exhibit 18
                                                                                                            Page 30
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           Sally CAic
     SA
           Verified Buyer    Verified Reviewer   Fort Worth, Texas. United States


    Cancel subscription
    Aug 04, 2022        (t                1.0




    Keep getting charged and have cancelled subscription. I need to talk to a customer service. Need help need help
    need help need help need hellp

    Loss: $28
    Cons: No free support for newly purchased product
          Bad service communication
    Preferred solution: Full refund



    E+i::i::ii:ii       1(J Helpful




                                                                                                            Exhibit 19
                                                                                                              Page 31
